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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                   )
JOHN DOE #1, et al.,               )
                                   )
                Plaintiffs,        )
                                   ) Civil Action No. 03-707 (EGS)
                v.                 )
                                   )
DONALD H. RUMSFELD,                )
Secretary of Defense, et al.,      )
                                   )
                Defendants.        )
                                   )

                          MEMORANDUM OPINION

     Six plaintiffs, known as John Doe #1 through #4 and Jane Doe

#1 and #2, brought this action to challenge the lawfulness of the

defendants’ Anthrax Vaccination Immunization Program (“AVIP”).

Currently pending before the Court is plaintiffs’ motion for

attorneys’ fees and costs.     Upon consideration of the motion, the

response and reply thereto, the applicable law, and the entire

record, the Court determines that plaintiffs are entitled to

attorneys’ fees, but that their pending request is flawed in

several, significant aspects.     Therefore, for the reasons stated

herein, plaintiffs’ motion for attorneys’ fees and costs is

DENIED without prejudice.


                              BACKGROUND

     This Court set forth a detailed description of the case’s

regulatory and procedural background in its 2004 opinion, see Doe


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v. Rumsfeld, 341 F. Supp. 2d 1, 3-8 (D.D.C. 2004), so it need

only be summarized here.       Pursuant to a process established for

drugs whose regulation was transferred from the National

Institutes of Health to the FDA, the FDA issued a proposed order

concerning AVA in 1985.        Id. at 4-6.   The FDA panel, whose report

was incorporated into the proposed order, concluded that AVA was

safe and effective “under the limited circumstances for which it

is employed.”     Id. at 4-5.    The panel did so after examining the

“Brachman study,” which investigated AVA’s effectiveness against

cutaneous anthrax and inhalation anthrax.         Id. at 5.   The

proposed order recommended that AVA be placed in “Category I,”

which encompassed drugs that are safe, effective, and not

misbranded.     Id.   Pursuant to its regulations, the FDA published

notice of the proposed rule and solicited comments for 90 days.

Id. at 5-6.   Following the receipt of comments, the FDA took no

further action until this suit was filed.         Id. at 6.

     In March 2003, plaintiffs filed suit in this Court, alleging

that the AVIP violated federal law because AVA had never been

approved as a safe and effective drug for protection against

inhalation anthrax.      Id.    On December 22, 2003, the Court issued

a preliminary injunction enjoining AVIP inoculations absent

consent because the FDA had never issued a final decision

regarding the safety of AVA.        Id.   Eight days later, the FDA

issued a final order classifying AVA as a Category I drug,


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stating that it was effective regardless of the route of

exposure.    Id.     The final order re-analyzed the data underlying

the 1985 proposed order and also relied upon studies conducted

after 1985.    Id. at 7.     Both parties subsequently moved for

summary judgment, with plaintiff seeking permanent injunctive

relief.    Id. at 8.

       On two initial matters, the Court determined the plaintiffs

had standing and that the FDA’s December 2003 decision

constituted an order, instead of a rule.         Id. at 9-12.    Even

though the decision was an order, the Court concluded that

because the FDA regulations required notice and comment for the

order, the notice and comment must have been procedurally

sufficient under the standards of the Administrative Procedure

Act.    Id. at 13.    Utilizing the logical outgrowth doctrine, the

Court concluded that the notice and comment for AVA was

insufficient because the final order deviated too greatly from

the proposed order.       Id. at 15.   Defendants had contended that

the proposed order was substantively identical to the final order

because the proposed order classified AVA as a Category I drug

and did not limit its application to any particular route of

exposure.    Id. at 14.    The Court, however, found that the scope

of the proposed order’s recommendation did not include inhalation

anthrax because the proposed order stated that there was

insufficient data concerning AVA’s effectiveness against


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inhalation anthrax.     Id. at 15.   Therefore, the public was not on

notice that AVA was being considered for use against inhalation

anthrax specifically, and thus the FDA’s procedure did not

provide a meaningful opportunity for comment as required by the

FDA’s own regulations.     Id.   As a remedy, the Court vacated the

final order and remanded it to the FDA for reconsideration.            Id.

at 16.   In addition, the Court entered a permanent injunction

enjoining defendants’ use of AVA absent consent until the FDA

properly classified AVA as safe and effective for its intended

purpose.   Id. at 19.

     While this case was on appeal, in December 2005, the FDA

issued a new final order after a notice-and-comment period,

explicitly finding AVA efficacious against inhalation anthrax.

See Biological Products; Bacterial Vaccines and Toxoids;

Implementation of Efficacy Review; Anthrax Vaccine Adsorbed, 70

Fed. Reg. 75,180 (Dec. 19, 2005).        As a result, the D.C. Circuit

held that this Court’s permanent injunction had dissolved by its

own terms, dismissed the appeal as moot, and remanded the case to

this Court for further proceedings.        Doe v. Rumsfeld, 172 Fed.

Appx. 327 (D.C. Cir. 2006) (per curiam).       On remand, the only

remaining issue is plaintiffs’ motion for attorneys’ fees and

costs under the Equal Access to Justice Act (“EAJA”), 28 U.S.C. §

2412(d).




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                               ANALYSIS

     Plaintiffs have filed an application for $508,310.44 in

attorneys’ fees and costs.     Defendants first contend that

plaintiffs are not entitled to any fees and costs because

defendants’ position was substantially justified.         In the

alternative, defendants contend that the proper award is much

less than plaintiffs’ request because (1) plaintiffs are not

prevailing parties with regard to their appeal to the D.C.

Circuit; (2) plaintiffs’ requested rate for their counsel is

above the statutory limit; and (3) plaintiffs’ purported billable

hours are too high because they improperly seek reimbursement for

certain activities and their billing records are too vague.


I. Substantial Justification

     The EAJA provides that a prevailing party in a non-tort suit

against the United States is entitled to fees and expenses unless

the government’s position was “substantially justified.”           28

U.S.C. § 2412(d)(1)(A).    The Supreme Court has held that a

position is substantially justified “if a reasonable person could

think it correct, that is, if it has a reasonable basis in law

and fact.”   Pierce v. Underwood, 487 U.S. 552, 556 (1988).             The

D.C. Circuit has stated that “the hallmark of the substantial

justification test is reasonableness.”       Role Models Am., Inc. v.

Brownlee, 353 F.3d 962, 967 (D.C. Cir. 2004).        The government

bears the burden of establishing that its position was

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substantially justified.     F.J. Vollmer Co., Inc. v. Magaw, 102

F.3d 591, 595 (D.C. Cir. 1996).       Moreover, the government must

demonstrate the reasonableness of both the agency’s actions as

well as its litigation position.        Role Models, 353 F.3d at 967.

      The question of reasonableness cannot be collapsed into the

antecedent evaluation on the merits; it is a distinct legal

standard.   F.J. Vollmer, 102 F.3d at 595.       The court’s reasoning

on the merits, however, may be quite instructive in resolving the

substantial justification issue.        Id.   For instance, a finding on

the merits that an agency’s decision lacked substantial evidence

generally implies that the agency’s decision was unreasonable.

Id.   In addition, if an agency failed “to enforce a rule where it

plainly applied,” it is much more likely that the agency’s

decision was not substantially justified.         Id.

      Defendants contend that their position, at both the agency

level and during litigation, was reasonable because they

reasonably construed the 1985 proposed order as encompassing

approval of AVA for treating inhalation anthrax.         In support of

this position, defendants point out that the proposed order

classified AVA as a Category I drug and did not limit its

approval to a particular route of exposure.         If this view of the

proposed order was reasonable, then the agency’s procedures would

have been proper because the 2003 final order would have been the

logical outgrowth of the proposed order.


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     In the 2004 opinion, the Court concluded that the proposed

order did not encompasses approval of AVA against inhalation

anthrax, especially in the context of a potential biological

attack as AVA is used in the AVIP.       Doe, 341 F. Supp. 2d at 15.

The Court reached this conclusion by focusing on two key

statements in the proposed order.      The first is that the proposed

order found AVA safe and effective for the “limited

circumstances” of its usage at that time, specifically

inoculating individuals in certain industrial settings who worked

with animal furs and hairs.     Id.    The second is that the proposed

order, in analyzing the Brachman study, found that the lack of

data permitted no meaningful analysis of the AVA’s effectiveness

against inhalation anthrax.     Id.    Thus, the public was not on

notice that AVA would be deemed safe and effective against

inhalation anthrax.    Id.

     The question of whether defendants’ litigation position was

substantially justified is a close one.       Even conceding that the

Court’s analysis was correct, defendants make the argument that

their view of the proposed order was still reasonable.         They

argue that because the proposed order did not explicitly limit

its approval of AVA to any particular route of exposure, it is at

least reasonable to interpret the proposed order as covering all

routes of exposure.    The Court, however, finds more persuasive

the argument that the proposed order could not have meant to


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approve AVA for inhalation anthrax when it explicitly stated that

it found no evidence to prove AVA’s effectiveness against

inhalation anthrax.    In fact, the 2003 final order had to

directly contradict the scientific conclusions in the proposed

order regarding the Brachman study in order to support the

position that AVA was effective against inhalation anthrax.            See

id. at 7.   Given the explicit qualifications in the proposed

order and the reversal in analysis in the 2003 final order, the

Court concludes that defendants’ litigation position was not

substantially justified under the EAJA.

     In addition, for the government’s position to be

substantially justified, the agency’s actions also must have been

reasonable.    Role Models, 353 F.3d at 967.     Plaintiffs contend

that the defendants’ actions were clearly unreasonable when they

instituted the AVIP program without any final FDA order approving

the usage of AVA.     See Doe v. Rumsfeld, 297 F. Supp. 2d 119,

133-34 (D.D.C. 2003) (concluding that AVIP program violated

federal law and entering preliminary injunction because the FDA

had not issued a final order and no study proved AVA’s

effectiveness against inhalation anthrax).       Rather than appeal

the Court’s conclusions, the FDA abruptly altered course and

issued a final order merely eight days after the Court’s 2003

opinion.    Such a response is indicative of the unreasonableness

of the agency’s initial stance.      Given the unreasonableness of


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the agencies’ initial position before the lawsuit, and their

sharp changes in December 2003 – issuing a final order after 18

years that contradicted the proposed order – the Court concludes

that the government was not substantially justified in this case.


II. Prevailing Party Status

     Defendants contend that plaintiffs cannot be considered a

prevailing party with regard to the appeal to the D.C. Circuit.

“Normally, a prevailing party is entitled to attorney’s fees for

work done on appeal.”    Jean v. Nelson, 863 F.2d 759, 770 (11th

Cir. 1988).   Some courts, though, have held that if plaintiffs

“did not prevail on any legal issue or obtain any additional

relief” on appeal, then plaintiffs have not prevailed at that

stage of the litigation.    Id.; see also Clark v. City of Los

Angeles, 803 F.2d 987, 993 (9th Cir. 1986) (holding that

attorney’s fees should not be paid for appellate work when

“nothing associated with the appeal contributed to [the]

favorable result achieved by litigation”).

     However, “the prevalent approach to determining whether a

plaintiff is a prevailing party on appeal is to inquire whether

the plaintiff has prevailed in the litigation as a whole.”

Schneider v. Colegio de Abogados de Puerto Rico, 187 F.3d 30, 48

(1st Cir. 1999).   Thus, one court in this district has rejected

the idea of “bifurcat[ing] a determination of whether plaintiffs

prevailed on appeal from whether plaintiffs prevailed at trial

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for purposes of determining eligibility of fees.”         Dougherty v.

Barry, 820 F. Supp. 20, 25 (D.D.C. 1993).        Instead, because

plaintiffs ultimately prevailed on their claims, the court found

plaintiffs “eligible for the reasonable fees and costs incurred

on both the trial and appellate levels, including fees and costs

incurred in defending on appeal specific issues which were

ultimately decided against them.”       Id.   In support of this

position as well is the statutory language, which speaks of

awarding fees and costs to a prevailing party in a “civil action”

and does distinguish between different stages of the action.            See

28 U.S.C. § 2412(d)(1)(A); Dougherty, 820 F. Supp. at 25.

     In this case, there is no question that plaintiffs have

prevailed overall as they achieved the permanent injunctive

relief that they sought.     See Role Models, 353 F.3d at 966

(holding that plaintiffs prevailed where they won an injunction

that forestalled an agency’s action until the agency properly

complied with relevant regulations).       It is also clear that

plaintiffs did not receive any additional relief on appeal, or an

affirmation of their position, because the appeal was mooted by

the government’s actions.     Therefore, the question for the Court

is whether awarding fees for plaintiffs’ work on appeal is

“reasonable” given their overall prevailing party status.           See

Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (holding that once




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a party is determined to be prevailing, a court must decide what

fees are “reasonable”).

       The Court concludes that plaintiffs are entitled to fees and

costs relating to the appeal.        Plaintiffs were litigating on

appeal the very same issues on which they succeeded in this

Court.    The reason plaintiffs did not further succeed on appeal

is because defendants mooted the appeal by giving plaintiffs the

exact result they sought: revised action by the FDA.            If

defendants intended to accede to plaintiffs, they could have

saved plaintiffs the expense of litigating the appeal by simply

not appealing this Court’s decision.         As plaintiffs incurred

additional expenses only because defendants unnecessarily pursued

an appeal initially, it is reasonable that plaintiffs should be

reimbursed for these expenses as they ultimately prevailed.

Thus, the Court rejects defendants’ argument for reducing

plaintiffs’ fees.


III.    Proper Rate for Attorneys and Staff

       Defendants contend that plaintiffs utilize an improperly

high rate for calculating their attorneys’ fees.           The EAJA

specifically provides that “attorney fees shall not be awarded in

excess of $125 per hour unless the court determines that an

increase in the cost of living or a special factor, such as the

limited availability of qualified attorneys for the proceedings

involved, justifies a higher fee.”         28 U.S.C. § 2412(d)(2)(A).

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Defendants contend that all attorneys should be reimbursed no

more than the EAJA maximum of $125 plus a cost of living

adjustment.1   Plaintiffs contend that their attorneys’ special

qualifications entitle them to higher rates for fees.

Specifically, plaintiffs rely on the their attorneys’ expertise

in the combined areas of military justice, administrative law,

and national security.

     The Supreme Court has interpreted the EAJA’s rate clause

narrowly, holding that enhanced rates are permitted only for

“attorneys having some distinctive knowledge or specialized

skill.”   Pierce, 487 U.S. at 572.      As examples, the Court has

referred to “an identifiable practice specialty such as patent

law, or knowledge of foreign law or language.”         Id.   The D.C.

Circuit has interpreted this to mean that fee enhancement is

available only for lawyers whose specialty “requir[es] technical

or other education outside the field of American law.”          Waterman

Steamship Corp. v. Maritime Subsidy Bd., 901 F.2d 1119, 1124

(D.C. Cir. 1990).    The D.C. Circuit has also stated that

expertise in administrative law in a particular area, such as

communications, railroads, or firearms, does not entitle



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        Defendants calculated the cost of living increase by using the
Consumer Price Index for all Urban consumers. See Role Models, 353
F.3d at 969. Using this method, the maximum rate allowed for each
year is $138.25 for 2000, $142.18 for 2001, $144.43 for 2002, $147.72
for 2003, $151.65 for 2004, $156.79 for 2005, and $161.05 for 2006.
Defs.’ Opp. at 19 n.6.

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attorneys to enhanced fees under the EAJA.        F.J. Vollmer, 102

F.3d at 598-99.   The Circuit has also rejected the claim that

expertise in federal election law justifies a fee enhancement.

In re Sealed Case 00-5116, 254 F.3d 233, 236 (D.C. Cir. 2001).

Finally, this Court has previously rejected the assertion that

expertise in military administrative law is a basis for a fee

enhancement.    Lynom v. Widnall, 222 F. Supp. 2d 1, 6-7 (D.D.C.

2002) (“Plaintiff’s counsel’s extensive experience in military

law is simply insufficient to warrant enhanced fees.”).

Therefore, the Court concludes that plaintiffs are not entitled

to attorneys’ fees more than the EAJA maximum of $125 plus a cost

of living adjustment.

     Adjusting the billable rates for plaintiffs’ attorneys will

require an extensive recalculation of plaintiffs’ fee request.

The Court will not undertake this endeavor, but instead will deny

plaintiffs’ motion for attorneys’ fees without prejudice to

reconsideration of an amended request in compliance with this

opinion.   As plaintiffs’ request suffers from additional flaws,

the Court will provide further guidance for plaintiffs.

     Plaintiffs have also sought fees for work done by legal

assistants.    Plaintiffs have the burden of justifying the rates

for which these individuals are billed.       Role Models, 353 F.3d at

969-70.    Plaintiffs, however, have not submitted any information

about the relevant market rate and have “not even taken the basic


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step of submitting an affidavit detailing the non-attorneys’

experience and education.”      See id. at 970.    Plaintiffs are

therefore required to justify the rates for the legal assistants

in their amended fee request.


IV. Proper Accounting of Billable Hours and Costs

     Under this Circuit’s law, plaintiffs have the burden of

establishing the reasonableness of their fee request, and

“supporting documentation must be of sufficient detail and

probative value to enable the court to determine with a high

degree of certainty that such hours were actually and reasonably

expended.”   Role Models, 353 F.3d at 970.       In assessing

reasonableness, prevailing counsel “must make a good faith effort

to exclude from a fee request hours that are excessive, redundant

or otherwise unnecessary.”      Hensley, 461 U.S. at 434.       One

disfavored practice is submitting time records that “lump

together multiple tasks, making it impossible to review their

reasonableness.”     Role Models, 353 F.3d at 971.      Another flaw in

time records is inadequate detail, such as records that only

describe work as “research,” “writing,” or “participating in

teleconference.”     Id.   Finally, duplication of effort is another

basis on which fee requests can be deemed excessive.          Id. at 972.

Defendants contend that plaintiffs’ fee request suffers from all

of these problems.    In addition, defendants contend that



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plaintiffs’ requested billable hours must be reduced for a

variety of specific reasons, each of are analyzed in turn.

     A.   Media Contacts

     Defendants contend that 29.5 hours should deducted from

plaintiffs’ request because they seek reimbursement for media

contacts.   “In this circuit, the government cannot be charged for

time spent in discussions with the press.”        Role Models, 353 F.3d

at 973.   Plaintiffs concede this argument.       Therefore, these

hours should not be included in the amended fee request.

     B. Travel Time

     Defendants contend that 16 hours should deducted from

plaintiffs’ request because they seek reimbursement for 32 hours

of travel time.   Travel is time is supposed to be compensated at

half the attorney’s hourly rate.        See Cooper v. U.S. R.R.

Retirement Bd., 24 F.3d 1414, 1417 (D.C. Cir. 1994).          Plaintiffs

concede this argument.     Therefore, these hours should not be

included in the amended fee request.

     C. Admission to the Court

     Defendants contend that 8.7 hours should deducted from

plaintiffs’ request because they seek reimbursement for time

spent seeking admission to this Court.       A fee request cannot

include such time because this Circuit has held that “the cost of

joining the bar of this court [is] an expense of doing business

not chargeable to clients – much less to the federal government.”


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Role Models, 353 F.3d at 973.      Plaintiffs concede this argument.

Therefore, these hours should not be included in the amended fee

request.

     D. Recovery for Matters Outside the Litigation

     Defendants contend that plaintiffs’ fee request

inappropriately seeks reimbursement for matters outside this

litigation.   Plaintiffs are only entitled to fees and costs

arising in this “civil action.”      28 U.S.C. § 2412(d)(1).

Defendants specifically challenge plaintiffs’ requests for

reimbursement for (1) work on a Seventh Circuit case, (2) work

related to a separate FOIA lawsuit, and (3) work related to the

notice-and-comment period that resulted in the FDA’s final order

in 2005.   This last request relates to work that occurred after

this Court’s final judgment and appears more connected to

plaintiffs’ separate litigation over the 2005 order.          See Doe v.

Von Eschenbach, 06-2131-RMC (D.D.C. 2006); see also NAACP v.

Donovan, 554 F. Supp. 715, 720 (D.D.C. 1982) (indicating that

fees are not available for work related to rulemaking

proceedings).   Therefore, unless they provide a convincing

explanation, plaintiffs should not seek reimbursement for these

matters in the amended fee request.

     E. Work on an Unfiled Motion

     Defendants contend that plaintiffs inappropriately seek

reimbursement for work on a motion that was never filed.          This


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motion was plaintiffs’ motion for an order to show cause why

defendants should not be held in contempt for violating the

Court’s permanent injunction.      The work on this motion, totaling

31.3 hours, occurred in February 2005, after the Court’s

permanent injunction was entered.       Plaintiffs briefly claim that

this work was necessary to preserve the integrity of the

injunction.

     Defendants argue that it is unreasonable to allow fees to be

paid for this work because it may have been unnecessary.          The

needlessness of the work was potentially unrevealed because

defendants never had the opportunity to oppose the motion.

Plaintiffs have not refuted this possibility because they have

not explained why the motion was necessary and yet never filed.

Without such an explanation, the Court cannot fully evaluate the

reasonableness of plaintiffs’ request.       Therefore, unless they

provide a fuller explanation, plaintiffs should not seek

reimbursement for work on this motion in the amended fee request.

     F. Clerical Matters

     Defendants contend that plaintiffs inappropriately seek

reimbursement for clerical or administrative work.         Purely

clerical or secretarial tasks, which do not require the skills of

an attorney or legal assistant, cannot be included in a fee

petition.   See Role Models, 353 F.3d at 973.       Plaintiffs’ fee

request includes numerous entries for updating files, downloading


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documents, and sending documents.       Many of these tasks appear

clerical or secretarial, and plaintiffs have not explained how

the tasks require the skills of at least a paralegal.          Therefore,

unless they provide an explanation, plaintiffs should not seek

reimbursement for this work in the amended fee request.

     G. Attorney Zaid’s Vague Entries

     Defendants contend that many billing entries for attorney

Mark Zaid are too vague to allow the Court to evaluate their

reasonableness.   The D.C. Circuit has held that billing entries

describing work only as “research,” “writing,” or “participating

in teleconference” are inadequately detailed for fee petition

purposes.   Id. at 971.    Many of Zaid’s entries describe his work

only as “E-mails,” “Tel. conv” or “Online research.”          Under the

Circuit’s standard, these entries are clearly too vague.          One

possible remedy is to reduce plaintiffs’ fee by certain

percentage because of the vague entries.        See id. at 973

(allowing reimbursement for only fifty percent of the attorney

hours that plaintiff requested because of “inadequate

documentation, failure to justify the number of hours sought,

inconsistencies, and improper billing entries”).         Unless these

entries are more detailed in plaintiffs’ amended fee request, the

Court will utilize this remedy.




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     H.   Excessive Time on Appeal

     Defendants contend that plaintiffs seek excessive

reimbursement for work related to the appeal.        Plaintiffs

retained twelve additional lawyers (besides the main attorneys –

Zaid and John Michels) to work on the appeal and, by defendants’

calculation, devoted 578 hours to the appeal.        Defendants argue

that it was excessive to involve twelve new lawyers on the case,

and that 578 hours was unnecessary as many of the legal issues

involved had been fully researched and discussed for proceedings

in this Court.     Plaintiffs briefly claim that such a large number

of attorneys and hours was necessary because of the “complexity

of the case and the fact that the record is so voluminous.”             In

light of plaintiffs’ perfunctory explanation, the utilization of

twelve new attorneys on appeal appears unreasonably excessive.

As a remedy, defendants recommend a 50% reduction in fees for the

extra twelve attorneys.     Unless plaintiffs’ amended fee request

includes a more complete explanation for the work on appeal, the

Court will utilize this remedy.

     I. Expenses

     Defendants challenge plaintiffs’ request for expenses

related to its team of investigators.       Plaintiffs seek $15,000

for “its team of investigators and factual researchers who

assisted counsel in securing documents, analyzing the

administrative record, preparing a chronology of administrative


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action regarding AVA and document management services.”

Plaintiffs identify these individuals by name, but have not

supported this request with any details as to these individual’s

activities other than to reference the times that they appear in

the attorneys’ billing records.      Thus, the Court has no basis for

assessing the amount of time that these individuals devoted to

this case, what they did, how much they were paid, and thus

whether the requested reimbursement was reasonable.         Therefore,

unless they provide more complete documentation, plaintiffs

should not seek reimbursement for these expenses in the amended

fee request.

     J. Costs

     Defendants contend that most of plaintiffs’ requested costs

cannot be reimbursed.    Under the EAJA, costs are limited to those

“enumerated in section 1920 of this title.”        28 U.S.C. §

2412(a)(1).     As pertinent here, section 1920 limits recovery for

costs to (1) fees of the clerk or marshal, (2) fees for

transcripts, (3) fees for printing and witnesses, and (4) fees

for copying.    28 U.S.C. §§ 1920(1)-(4).     Plaintiffs, however,

have sought costs for overhead, secretarial services, taxi fares,

messenger costs, telephone bills, postage, meals, and travel,

which are not compensable in this circuit.        See, e.g., Hirschey

v. FERC, 777 F.2d 1, 6 (D.C. Cir. 1985) (holding that taxi fares,

overhead, and secretarial services cannot be reimbursed); Mass.


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Fair Share v. Law Enforcement, 776 F.2d 1066, 1069 (D.C. Cir.

1985) (holding that travel expenses, telephone bills, and postage

are not compensable under EAJA).        The only properly charged costs

sought by plaintiffs are fees for copying and hearing

transcripts.   Thus, plaintiffs’ amended request for costs should

be limited to only those costs.

                               CONCLUSION

     The Court concludes that plaintiffs are entitled to fees and

costs for litigating this action, including on appeal, because

plaintiffs are the prevailing party and the government’s position

was not substantially justified.        Plaintiffs’ request for

attorneys’ fees and costs, however, contains flaws that preclude

the Court from determining the proper amount of fees and costs in

this case.   Therefore, plaintiffs’ motion for attorneys’ fees is

DENIED without prejudice to reconsideration of an amended request

in compliance with this opinion.        Plaintiffs are directed to file

an amended motion for attorneys’ fees in light of this opinion by

no later than September 28, 2007.        In the alternative, if the

parties seek to negotiate a fee award, the parties shall file a

joint status report and recommendation for future proceedings by

no later than September 28, 2007.        An appropriate Order

accompanies this Memorandum Opinion.


Signed:   Emmet G. Sullivan
          United States District Judge
          August 21, 2007

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